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 7
 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10   CHROME HEARTS LLC, a Delaware         ) CASE NO.:
     Limited Liability Company,            )
11                                         ) COMPLAINT FOR DAMAGES AND
                                           ) EQUITABLE RELIEF
12                     Plaintiff,          )
                                           ) 1. TRADEMARK INFRINGEMENT
13                                         )
                 vs.                       ) 2. FALSE DESIGNATION OF
14                                         )    ORIGIN AND FALSE
                                           )    DESCRIPTIONS
15   ZOETOP BUSINESS CO., LIMITED, a )
     Hong Kong SAR China Private Limited ) 3. UNFAIR COMPETITION IN
16   Company; SHEIN US SERVICES, LLC, )         VIOLATION OF CAL. BUS. &
     a Delaware Limited Liability Company; )    PROF. CODE, § 17200, et seq.
17   and DOES 1-10, inclusive,             )
                                           ) 4. COMMON LAW TRADEMARK
18                     Defendants.         )    INFRINGEMENT AND UNFAIR
                                           )    COMPETITION
19                                         )
                                           )
20                                         ) JURY TRIAL DEMANDED
                                           )
21
           Plaintiff Chrome Hearts LLC (“Chrome Hearts” or “Plaintiff”) for its claims
22
     against Defendants Zoetop Business Co., Limited (“Zoetop”), Shein US Services, LLC
23
     (“Shein US Services”) and DOES 1-10 (collectively “Defendants”) alleges as follows:
24
                                 JURISDICTION AND VENUE
25
           1.    Plaintiff files this action against Defendants for trademark infringement
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     and false designation of origin under the Lanham Trademark Act of 1946, 15 U.S.C. §
27
     1051 et seq. (the “Lanham Act”), and related claims of trademark infringement and
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 1   unfair competition under the statutory and common law of the State of California.
 2         2.     This Court has subject matter jurisdiction over Plaintiff’s Lanham Act
 3   claims under 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1331 and 1338(a), and supplemental
 4   jurisdiction over Plaintiff’s state and common law claims under 28 U.S.C. § 1367(a)
 5   because those claims are so related to Plaintiff’s federal claims that they form part of
 6   the same case or controversy and derive from a common nucleus of operative facts.
 7         3.     This Court has personal jurisdiction over Defendants because Defendants
 8   committed an intentional act by offering for sale and/or selling products which infringe
 9   upon Plaintiff’s intellectual property as more fully described below, such actions were
10   expressly aimed at the state of California and its consumers because Defendants operate
11   an interactive website where the infringing products can be purchased from and shipped
12   to this State, and advertise and market such products to consumers in this State, and
13   thus Defendants caused monetary and reputational harm to Plaintiff that Defendants
14   know is likely to be suffered in this State because Defendants know that Plaintiff resides
15   in California and has its principal place of business here. In addition, Defendants have
16   specifically directed sales and marketing activity towards California consumers by
17   operating several “pop up shops” in San Diego, Los Angeles, and San Francisco in the
18   past five years.
19         4.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of
20   the events or omissions giving rise to the claims alleged herein occurred in this judicial
21   district and Defendants are subject to personal jurisdiction in this District.
22                                        THE PARTIES
23         5.     Chrome Hearts is a limited liability company organized and existing under
24   the laws of the state of Delaware, with an office and principal place of business located
25   at 915 North Mansfield Avenue, Los Angeles, California 90038.
26         6.     Upon information and belief, Defendant Zoetop Business Co., Limited is
27   a Private Limited Company organized and existing under the laws of Hong Kong
28   Special Administrative Region, with a registered office and principal place of business

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                            COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1   located at Room 2609, China Resources Building, 26 Harbour Road, Wanchai, Hong
 2   Kong SAR, China.
 3         7.     Upon information and belief, Defendant Shein US Services, LLC is a
 4   limited liability company organized and existing under the laws of the State of Delaware
 5   and registered to do business in the State of California, with a registered office and
 6   principal place of business located at 777 S. Almeda Street, 2nd Floor, Los Angeles,
 7   California 90021.
 8         8.     Chrome Hearts is unaware of the names and true capacities of Defendants,
 9   whether individuals, corporate and/or partnership entities, named herein as DOES 1
10   through 10, inclusive, and therefore sues them by their fictitious names. Chrome Hearts
11   will seek leave to amend this complaint when their true names and capacities are
12   ascertained. Upon information and belief, each one of Defendants caused or are in some
13   manner responsible for causing the wrongful acts alleged herein, and that at all relevant
14   times each one was the agent, servant, and/or employee of the other Defendants acting
15   within the course and scope of said agency, service, and employment.
16         9.     Upon information and belief, at all relevant times herein, each one of
17   Defendants knew or reasonably should have known of the wrongful acts and behavior
18   alleged herein and the damages caused thereby, ratified, and encouraged such acts and
19   behavior, and/or had a non-delegable duty to prevent such acts and behavior but failed
20   or refused to do so.
21               ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
22         A.     The Chrome Hearts Brand and Trademarks
23         10.    Chrome Hearts is an American luxury brand that has been designing,
24   manufacturing, and selling artistically styled leather goods, apparel, jewelry, and
25   accessories since 1988.
26         11.    Chrome Hearts sells a wide variety of quality artistic products, including
27   leather pants, leather jackets, leather vests, sterling silver jewelry, including necklaces,
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 1   bracelets, rings and wallet chains, belt buckles, fabric apparel, bags and a wide
 2   collection of other products, including furniture, eyewear, and crystal ware.
 3         12.    Chrome Hearts® products are sold in the exclusive Chrome Hearts stores
 4   throughout the world, on its official website www.chromehearts.com, and in select
 5   specialty stores, such as Selfridges in London, Bergdorf Goodman in New York and the
 6   United Arrows and Dover Street Market Ginza boutiques in Japan.
 7         13.    Chrome Hearts® products are also advertised and promoted through
 8   Chrome Hearts’ Instagram account, @chromeheartsofficial, which has 1.6 million
 9   followers.
10         14.    Chrome Hearts is known for combining the look of rugged apparel with
11   fashion attire to make fashion apparel and accessories. All of Chrome Hearts’ leather
12   products are adorned with sterling silver hardware, including all of the buttons and
13   ornamental pieces. Chrome Hearts is also known for using suede inlay designs in
14   connection with leather clothing.
15         15.    Entertainers, such as Madonna, Drake, Arnold Schwarzenegger, Rihanna,
16   Cher, Kate Hudson, Tom Brady, David Beckham, and Lenny Kravitz can all be seen in
17   Chrome Hearts’ fashions.
18         16.    In 1993, the Council of Fashion Designers of America (“CFDA”)
19   presented Chrome Hearts with an unsolicited award as designer of the year for its
20   innovative accessories and jewelry designs. In 1999, Chrome Hearts was featured in
21   the “Rock Style” exhibit at the Costume Institute of the Metropolitan Museum of Art.
22   In 2022, the CFDA awarded Chrome Hearts the Geoffrey Beene Lifetime Achievement
23   Award, an award that recognizes outstanding designers and their contributions made to
24   American fashion.
25         17.    Virtually all Chrome Hearts® products, including clothing, denim, and
26   jewelry, are handmade in Los Angeles by Chrome Hearts’ craftsmen. The level of
27   expert workmanship exercised by these individuals is superior, meticulous, extremely
28   detailed, and conforms with the strict standards established by Chrome Hearts.

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 1         18.   Chrome Hearts® products have been praised and recognized in numerous
 2   articles appearing in both trade publications and publications directed to the general
 3   public around the world, including articles in the United States, Germany, Japan and
 4   France. These articles have acclaimed the high artistry, fashion and style of Chrome
 5   Hearts’ designs and the uniqueness of the designs. Publications such as Details, Elle,
 6   Flaunt, Maxim, FHM Interview, GQ, Complex, and Vogue have all featured Chrome
 7   Hearts® products.
 8         19.   Chrome Hearts is the owner of the CHROME HEARTS word mark,
 9   various design only marks, and composite trademarks comprising the CHROME
10   HEARTS mark and design components, including in relevant part the following U.S.
11   federal trademark registrations (collectively, the “Chrome Hearts Marks”):
12         Chrome Hearts’ Mark             U.S. Reg. Reg. Date         Goods/Services
                                              No.
13                                         4,619,673 10/14/2014 018: Bags, Namely
14                                                                Handbags, Shoulder
                                                                  Bags, Back Packs,
15                                                                Messenger Bags,
16                                                                Clutches, Duffle Bags,
                                                                  Evening Bags, Wallets,
17                                                                and Luggage
18
          “Cemetery Cross Patch”         4,619,674 10/14/2014 025: Clothing, namely,
19                                                            tee shirts, shirts, tank
20                                                            tops, sweat shirts, sweat
                                                              pants, vests, sweaters,
21                                                            jeans, pants, chaps,
22                                                            dresses, skirts, jackets,
                                                              coats, underwear,
23                                                            swimwear, hats, socks
24                                                            and footwear
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 1      Chrome Hearts’ Mark          U.S. Reg. Reg. Date      Goods/Services
                                        No.
 2                                   3,743,975 02/02/2010 018: Bags, Namely
 3                                                        Handbags, Shoulder
                                                          Bags, Back Packs,
 4                                                        Messenger Bags,
 5                                                        Clutches, Duffle Bags,
                                                          Evening Bags, Wallets,
 6                                                        and Luggage
 7
                                     3,784,780 05/04/2010 026: Hair Accessories,
 8                                                        namely, Hair Pulls in
              “CH Plus”
 9                                                        The Nature of Hair
                                                          Bands, Hair Clips, Hair
10                                                        Bows, Hair Bands,
11                                                        Headbands, Hair Pins,
                                                          Barrettes, Ponytail
12                                                        Holders, Buttons, and
13                                                        Ribbons
14                                   4,643,872 11/25/2014 018: Bags, Namely
15                                                        Handbags, Shoulder
                                                          Bags, Back Packs,
16                                                        Messenger Bags,
17                                                        Clutches, Duffle Bags,
                                                          Evening Bags, Wallets,
18                                                        and Luggage
19
           “Dagger Design”
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 1        Chrome Hearts’ Mark              U.S. Reg. Reg. Date      Goods/Services
                                              No.
 2                                         3,605,860 04/14/2009 014: Jewelry, namely
 3                                                              rings, earrings,
                                                                pendants, necklaces,
 4                                                              bracelets, cuff
 5                                                              bracelets, cuff links,
                                                                watch bracelets
 6                                                              and key rings made of
 7                                                              precious metals

 8                                         4,501,773 03/25/2014 026: Hair Accessories,
                 “CH Cross”
 9                                                              namely, Hair Pulls in
                                                                The Nature of Hair
10                                                              Bands, Hair Clips, Hair
11                                                              Bows, Hair Bands,
                                                                Headbands, Hair Pins,
12                                                              Barrettes, Ponytail
13                                                              Holders, Buttons, and
                                                                Ribbons
14
           20.    Attached hereto as Exhibits A-G are true and correct copies of the
15
     trademark registrations identified in paragraph 19 of this Complaint, which are
16
     incorporated herein by reference.
17
           21.    Most, if not all, of Chrome Hearts’ products feature trademarks owned and
18
     federally registered by Chrome Hearts, including the Chrome Hearts Marks. Chrome
19
     Hearts uses the Marks as source identifiers.
20
           22.    Chrome Hearts has always devoted substantial time, effort, and money to
21
     designing, developing, advertising, promoting, and marketing its products, and spends
22
     on average over $1 million per year on advertising, promoting, and marketing the
23
     CHROME HEARTS® brand. Chrome Hearts advertises throughout the world, from
24
     social media to select high-end and artistic magazines. As a result of its efforts, Chrome
25
     Hearts has sold over a billion dollars’ worth of clothing, all bearing one or more of
26
     Chrome Hearts’ federally registered trademarks, including the Chrome Hearts Marks.
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 1         23.    Registrations for the Chrome Hearts Marks are valid, subsisting, and
 2   incontestable. Chrome Hearts was also able to obtain the trademark registrations for
 3   the Chrome Hearts Marks without proof of secondary meaning and thus they are
 4   inherently distinctive. Through longstanding use, advertising, and registration, the
 5   Chrome Hearts Marks have achieved a high degree of consumer recognition in the
 6   United States and the world over and constitute famous marks.
 7         24.    Chrome Hearts has continuously used the Chrome Hearts Marks in
 8   interstate commerce in connection with the sale, distribution, promotion, and
 9   advertising of its goods –the Cemetery Cross Patch since 1989, the CH Plus as early as
10   1988, the Dagger since 1989, and the CH Cross as early as 1989. Accordingly, Chrome
11   Hearts has used the Chrome Hearts Marks as a source identifier on various goods,
12   including in Classes 018, 014, 025 and 026, for at least 34-35 years.
13         25.    The Chrome Hearts Marks have come to identify, in the United States and
14   throughout the world, high quality leather fashions, jewelry, apparel, and accessories
15   designed and manufactured by Chrome Hearts. In turn, consumers have come to
16   identify the Chrome Hearts Marks as being associated with and originating from
17   Chrome Hearts.
18         26.    Due to Chrome Hearts’ long use, extensive sales, and significant
19   advertising and promotional activities, the Chrome Hearts Marks have achieved
20   widespread acceptance and recognition amongst the consuming public and trade
21   throughout the United States.
22         27.    Chrome Hearts has achieved such fame as to be copied by others without
23   authorization, including Defendants, as is the case with many other luxury brands. In
24   the past five years for example, Chrome Hearts has filed more than 100 lawsuits against
25   defendants who infringed upon the Chrome Hearts Marks.
26         B.     Defendants’ Infringing Conduct
27         28.    The present lawsuit arises from Defendants’ manufacture, production,
28   marketing, distribution, advertisement, offering for sale, and/or sale of handbags and

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 1   accessories that bear marks that are identical with, substantially indistinguishable from,
 2   or confusingly similar to one or more of the Chrome Hearts Marks (the “Accused
 3   Products”), an exemplar of which are shown below:
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 1                                Examples of Accused Products
 2          29.    Upon information and belief, Zoetop and Shein US Services collectively
 3   own and operate a “fast fashion” e-commerce enterprise that sells footwear, apparel,
 4   accessories, handbags, jewelry, and other products under Defendants’ various
 5   proprietary brand names including “SHEIN” through Defendants’ highly interactive
 6   websites, including us.shein.com which is accessible to consumers throughout the
 7   United States, including those within this judicial district. Upon information and belief,
 8   Defendants imported into the U.S., advertised, marketed, offered for sale, and/or sold
 9   Accused Products in the Central District of California.
10          30.    Upon information and belief, through the aforementioned website and
11   related advertising, Defendants directly target consumers with the Accused Products,
12   including those within this judicial district.
13          31.    Upon information and belief, Defendants manufactured, distributed,
14   offered for sale, sold, and shipped the Accused Products to consumers in this judicial
15   district.
16          32.    Upon information and belief, Defendants engaged in the above infringing
17   activities with the knowledge that Plaintiff was a company with its principal place of
18   business located in this judicial district.
19          33.    Chrome Hearts has not granted a license or given Defendants any form of
20   permission to use intellectual property belonging to Chrome Hearts, including the
21   Chrome Hearts Marks, in any way. Chrome Hearts purchased and inspected the
22   Accused Products and confirmed they did not originate from Chrome Hearts or contain
23   authentic Chrome Hearts Marks. Defendants used the Chrome Hearts Marks on the
24   Accused Products without Chrome Hearts’ permission.
25          34.    The Accused Products that Defendants sold and shipped to various
26   consumers within this District are very likely cause confusion for consumers, including
27   Plaintiff’s customers, who, at the time of initial interest, sale, and/or in the post-sale
28   setting are led to believe that the Accused Products are genuine goods originating from,

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 1   associated with, and/or approved by Chrome Hearts due to the marks being identical,
 2   substantially indistinguishable, or confusingly similar to the Chrome Hearts Marks.
 3         35.    Upon information and belief, Defendants’ unlawful acts have misled and
 4   confused, and were intended to cause confusion, or to cause mistake, or to deceive as
 5   to the origin, affiliation, or association of the Accused Products with Chrome Hearts,
 6   and the sponsorship or approval of the Accused Products by Chrome Hearts.
 7                               FIRST CAUSE OF ACTION
 8           (Trademark Infringement Under the Lanham Act, 15 U.S.C. § 1114)
 9         36.    Plaintiff incorporates by reference each and every one of the preceding
10   paragraphs as though fully set forth herein.
11         37.    This is an action for trademark infringement and/or counterfeiting against
12   Defendants under 15 U.S.C. § 1114 based on their use of spurious and identical or
13   substantially distinguishable (i.e., counterfeit), or confusingly similar (i.e., non-
14   counterfeit), marks to the Chrome Hearts Marks in commerce, in connection with
15   Defendants’ promotion, distribution, manufacturing, offer for sale, sale, marketing,
16   and/or advertising of the Accused Products.
17         38.    The Chrome Hearts Marks are nationally recognized, including within the
18   Central District of California, as being affixed to goods and merchandise of the highest
19   quality, with Chrome Hearts being the exclusive source of all such products.
20         39.    The specific U.S. registrations to the Chrome Hearts Marks identified
21   herein are in full force and effect, and each one has been in continuous use since their
22   respective first dates of use. Indeed, the specific U.S. registrations identified in
23   paragraph 19 are incontestable by virtue of their registrations and continuous use in
24   commerce for more than five years.
25         40.    The Accused Products bear counterfeit marks that are identical or
26   substantially indistinguishable to the Chrome Hearts Marks based on how the marks
27   appear in the marketplace to a consumer. The marks on the Accused Products are
28   spurious because Chrome Hearts has purchased and examined the marks and confirmed

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 1   they are inauthentic. Due to the identical or substantially indistinguishable appearance
 2   of the marks compared to the Chrome Hearts Marks, consumers are likely to be
 3   confused, mistaken, or deceived, as to the origin of the marks on the Accused Products.
 4         41.    The Accused Products bear marks that are confusingly similar to the
 5   Chrome Hearts Marks based on how the marks appear in the marketplace to a consumer
 6   such that it is likely to cause confusion, mistake, or deception as to the origin of the
 7   marks on the Accused Products.
 8         42.    The identical or substantially indistinguishable or confusingly similar
 9   marks on the Accused Products are likely to lead to and result in consumers believing
10   that Chrome Hearts produced, sponsored, authorized, licensed or is otherwise connected
11   or affiliated with Defendants’ commercial and business activities, all to the detriment
12   of Chrome Hearts.
13         43.    Defendants’ promotion, marketing, advertising, offering for sale, selling,
14   manufacturing, and/or distribution of the Accused Products and marks within is without
15   Chrome Hearts’ permission or authority and in total disregard of Chrome Hearts’ rights
16   to control its intellectual property.
17         44.    Upon information and belief, Defendants’ acts are deliberate and intended
18   to confuse the public as to the source of Defendants’ goods or services and to injure
19   Chrome Hearts and reap the benefit of Chrome Hearts’ goodwill associated with the
20   Chrome Hearts Marks.
21         45.    As a direct and proximate result of Defendants’ infringing conduct,
22   Chrome Hearts has been injured and will continue to suffer injury to its business and
23   reputation unless Defendants are enjoined by this Court from advertising, selling, and
24   offering for sale products bearing the Chrome Hearts Marks that are not in fact authentic
25   Chrome Hearts® products.
26         46.    Chrome Hearts has no adequate remedy at law.
27         47.    In light of the foregoing, Chrome Hearts is entitled to injunctive relief
28   prohibiting Defendants from using any of the Chrome Hearts Marks, and/or any marks

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 1   identical, substantially indistinguishable, or confusingly similar thereto, and to recover
 2   from Defendants all damages, including attorneys’ fees, that Chrome Hearts has
 3   sustained and will sustain as a result of such infringing acts, and all gains, profits and
 4   advantages obtained by Defendants as a result thereof, in an amount not yet known,
 5   attorneys’ fees and treble damages, as well as the costs of this action pursuant to 15
 6   U.S.C. § 1117(a)-(b), and/or statutory damages pursuant to 15 U.S.C § 1117(c).
 7                               SECOND CAUSE OF ACTION
 8       (False Designation of Origin and False Descriptions – 15 U.S.C. § 1125(a))
 9         48.     Chrome Hearts incorporates by reference each and every one of the
10   preceding paragraphs as though fully set forth herein.
11         49.     Defendants’ unauthorized use of marks identical or substantially
12   indistinguishable or confusingly similar to the Chrome Hearts Marks on its
13   merchandise, in interstate commerce and advertising relating to same, constitutes false
14   designation of origin and a false representation that the goods are manufactured,
15   offered, sponsored, authorized, licensed by or otherwise connected with Chrome Hearts
16   or come from the same source as Chrome Hearts’ goods when they in fact do not.
17         50.     Defendants’ use of the Chrome Hearts Marks is without Chrome Hearts’
18   permission or authority and in total disregard of Chrome Hearts’ rights to control its
19   trademarks.
20         51.     Defendants’ activities are likely to lead to and result in confusion, mistake,
21   or deception, and are likely to cause the public to believe that Chrome Hearts has
22   produced, sponsored, authorized, licensed or is otherwise connected or affiliated with
23   Defendants’ commercial and business activities, all to the detriment of Chrome Hearts.
24         52.     Chrome Hearts has no adequate remedy at law.
25         53.     In light of the foregoing, Chrome Hearts is entitled to injunctive relief
26   prohibiting Defendants from using any of the Chrome Hearts Marks, and/or any marks
27   identical, substantially indistinguishable, or confusingly similar thereto, and to recover
28   from Defendants all damages, including attorneys’ fees, that Chrome Hearts has

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 1   sustained and will sustain as a result of such infringing acts, and all gains, profits and
 2   advantages obtained by Defendants as a result thereof, in an amount not yet known,
 3   attorneys’ fees and treble damages, as well as the costs of this action pursuant to 15
 4   U.S.C. § 1117(a)-(b), and/or statutory damages pursuant to 15 U.S.C § 1117(c).
 5                                THIRD CAUSE OF ACTION
 6      (Unfair Competition in Violation of Cal. Bus. & Prof. Code § 17200 et seq.)
 7         54.      Plaintiff incorporates by reference each and every one of the preceding
 8   paragraphs as though fully set forth herein.
 9         55.      The Chrome Hearts Marks are strong and distinctive marks that have been
10   in use for at least 34-35 years and have achieved enormous and widespread public
11   recognition.
12         56.      Through prominent, long, and continuous use in commerce, the Chrome
13   Hearts Marks have become and continue to be famous and distinctive in the State of
14   California.
15         57.      Defendants’ misappropriation of the Chrome Hearts Marks was intended
16   to capitalize on Chrome Hearts’ goodwill for Defendant’s own pecuniary gain.
17         58.      Defendants’ unauthorized use of the Chrome Hearts Marks dilutes the
18   distinctive quality of the Chrome Hearts Marks and decreases the capacity of such
19   marks to identify and distinguish Chrome Hearts’ products and has caused a likelihood
20   of harm to Chrome Hearts’ business reputation.
21         59.      By the acts described above, Defendants have caused and will continue to
22   cause irreparable injury to Chrome Hearts’ goodwill and business reputation, in
23   violation of Cal. Bus. & Prof. Code § 17200 et seq.
24         60.      Upon information and belief, Defendants have made and will continue to
25   make substantial profits and gains to which they are not in law or equity entitled.
26         61.      Defendants are liable to Chrome Hearts for all damages, whether direct or
27   indirect, for the misappropriation of Chrome Hearts’ trademarks, reputation and
28   goodwill, which damages are subject to trebling.

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 1            62.   Upon information and belief, Defendants will continue their infringing acts
 2   unless restrained by this Court.
 3            63.   Defendants’ acts have damaged and will continue to damage Chrome
 4   Hearts, and Chrome Hearts has no adequate remedy at law.
 5            64.   In light of the foregoing, Chrome Hearts is entitled to all available relief
 6   provided for in California Unfair Business Practices Act, Cal. Bus. & Prof. Code, §
 7   17200, et. seq. including permanent injunctive relief, restitution, and attorneys’ fees and
 8   costs.
 9                               FOURTH CAUSE OF ACTION
10             (Common Law Trademark Infringement and Unfair Competition)
11            65.   Chrome Hearts incorporates by reference each and every one of the
12   preceding paragraphs as though fully set forth herein.
13            66.   Chrome Hearts owns and enjoys common law trademark rights to the
14   Chrome Hearts Marks in California and throughout the United States.
15            67.   Defendants’ misappropriation of Chrome Hearts’ common law trademarks
16   was intended to capitalize on Chrome Hearts’ goodwill for Defendant’s own pecuniary
17   gain. Chrome Hearts has expended substantial time, resources, and effort to obtain an
18   excellent reputation for itself and its family of Marks. As a result of Chrome Hearts’
19   efforts, Defendants are now unjustly enriched and are benefiting from property rights
20   that rightfully belong to Chrome Hearts.
21            68.   Defendants’ unauthorized use of the Chrome Hearts Marks has caused and
22   is likely to cause confusion as to the source of Defendant’s products due to the marks
23   appearing identical, substantially indistinguishable, or confusingly similar to the
24   Chrome Hearts Marks, all to the detriment of Chrome Hearts.
25            69.   Defendants’ acts are willful, deliberate, and intended to confuse the public
26   and to injure Chrome Hearts.
27            70.   Defendants’ acts constitute unfair competition under California common
28   law.

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 1         71.    Chrome Hearts has no adequate remedy at law to compensate it fully for
 2   the damages that have been caused and which will continue to be caused by Defendants’
 3   infringing conduct unless it is enjoined by this Court.
 4         72.    The conduct herein complained of was extreme, outrageous, fraudulent,
 5   and was inflicted on Chrome Hearts in reckless disregard of Chrome Hearts’ rights.
 6   Said conduct was despicable and harmful to Chrome Hearts and as such supports an
 7   award of exemplary and punitive damages in an amount sufficient to punish and make
 8   an example of Defendants and to deter them from similar such conduct in the future.
 9         73.    In light of the foregoing, Chrome Hearts is entitled to injunctive relief
10   prohibiting Defendants from using the Chrome Hearts Marks to recover all damages,
11   including attorneys’ fees, that Chrome Hearts has sustained and will sustain, and all
12   gains, profits and advantages obtained by Defendants as a result of their infringing acts
13   alleged above in an amount not yet known, and the costs of this action.
14                                  PRAYER FOR RELIEF
15         WHEREFORE, Chrome Hearts respectfully prays that this Court enter
16   judgment in its favor and against Defendants as follows:
17         1.     Entry of an ORDER granting temporary, preliminary, and permanent
18   injunctive relief restraining and enjoining Defendants, their officers, agents, employees,
19   and attorneys, and all those persons or entities in active concert or participation with
20   them from:
21                   a. manufacturing, importing, advertising, marketing, promoting,
22                      supplying, distributing, offering for sale, or selling Accused
23                      Products and/or any other products that bear the Chrome Hearts
24                      Marks, or any other marks identical, substantially indistinguishable,
25                      or confusingly similar thereto;
26                   b. engaging in any other activity constituting unfair competition with
27                      Chrome Hearts, or acts and practices that deceive consumers, the
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 1                       public, and/or trade, including without limitation, the use of
 2                       designations and design elements associated with Chrome Hearts;
 3                   c. committing any other act which falsely represents, or which has the
 4                       effect of falsely representing that the goods and services of
 5                       Defendants are licensed by, authorized by, offered by, produced by,
 6                       sponsored by, or in any other way associated with Chrome Hearts;
 7         2.     Entry of an ORDER directing Defendants to recall from any distributors
 8   and retailers and to deliver to Chrome Hearts for destruction, or other disposition, all
 9   remaining inventory of the Accused Products, in addition to any other goods that
10   infringe upon Chrome Hearts’ rights to the Chrome Hearts Marks, including all
11   advertisements, promotional and marketing materials therefore, as well as means of
12   making same in their possession or under their control;
13         3.     Entry of an ORDER directing Defendants to disclose their supplier(s) and
14   manufacturer(s) of the Accused Products and provide all documents, correspondence,
15   receipts, and invoices associated with the purchase of the Accused Products;
16         4.     Entry of an ORDER directing Defendants to file with this Court and serve
17   on Chrome Hearts within thirty (30) days after entry of the injunction a report in writing,
18   under oath setting forth in detail the manner and form in which Defendants have
19   complied with the injunction;
20         5.     Entry of an ORDER for an accounting by Defendants of all gains, profits,
21   and/or advantages derived from their infringing acts pursuant to 15 U.S.C. § 1117(a);
22         6.     An award of all profits that Defendants have derived from using the
23   Chrome Hearts Marks, trebled, as well as costs and attorneys’ fees to the full extent
24   provided for by Section 35 of the Lanham Act; alternatively, an award of statutory
25   damages pursuant to 15 U.S.C. § 1117 up to $2 million per trademark counterfeited and
26   infringed, per type of good;
27         7.     An award of enhanced damages due to Defendants’ willful infringement;
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 1         8.    An award of applicable interest amounts, costs, disbursements, and/or
 2   attorneys’ fees, as an exceptional case under 15 U.S.C. § 1117 or otherwise;
 3         9.    An award of fees and punitive damages to the full extent available in
 4   connection with Chrome Hearts’ claims under California law; and
 5         10.   Any such other relief that may be just and proper.
 6
 7    Dated:       August 24, 2023            BLAKELY LAW GROUP
 8
 9                                            By:   /s/ Tara A. Currie
                                                    Brent H. Blakely
10                                                  Tara A. Currie
                                                    Attorneys for Plaintiff
11                                                  Chrome Hearts LLC
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 1                               DEMAND FOR JURY TRIAL
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff Chrome
 3   Hearts LLC hereby demands a trial by jury as to all claims in this litigation.
 4
 5    Dated:        August 24, 2023            BLAKELY LAW GROUP
 6
 7                                             By:    /s/ Tara A. Currie
                                                      Brent H. Blakely
 8                                                    Tara A. Currie
                                                      Attorneys for Plaintiff
 9                                                    Chrome Hearts LLC
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